                   IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

 FOOD LION, LLC, and MARYLAND AND
 VIRGINIA MILK PRODUCERS
 COOPERATIVE ASSOCIATION, INC.,

                         Plaintiffs,
                                                           1:20-CV-442
  v.

 DAIRY FARMERS OF AMERICA, INC.,

                         Defendant.



             STIPULATED NOTICE OF MATERIAL CHANGE ORDER

       THIS CAUSE is before the Hon. Catherine Eagles, U.S. District Court Judge

Presiding, pursuant to the Parties’ request for the entry of a stipulated order regarding the

assets that are the subject of this litigation. The Court finds that:

       1.     On or about May 1, 2020, the Defendant, Dairy Farmers of America, Inc.,

(“DFA”), purchased certain assets of Dean Foods Company (“Dean”) through a bidding

and sale process overseen and authorized by the U.S. Bankruptcy Court for the Southern

District of Texas, where Dean was in bankruptcy proceedings.

       2.     On May 19, 2020, the Plaintiffs filed this Complaint, alleging that the

acquisition by DFA of the three Dean plants in North and South Carolina (“the Carolina

Plants”) would result in violations of Section 7 of the Clayton Act and Section 2 of the

Sherman Act. As part of its remedy, the Complaint seeks the divestiture of “at least one”

of the Carolina Plants to a purchaser unaffiliated with DFA. On May 22, 2020, the




       Case 1:20-cv-00442-CCE-JLW Document 39 Filed 07/02/20 Page 1 of 5
Plaintiffs sought a Preliminary Injunction regarding the Carolina Plants in order to preserve

the status quo pending trial and ensure that a divestiture remedy would remain viable. DFA

denies that this Court has subject-matter jurisdiction over the matter, that Plaintiffs have

stated a cause of action, or that Plaintiffs are entitled to the relief sought.

       3.      On May 31, 2020, the Plaintiffs filed a Motion for Expedited Discovery,

ECF. No. 20. In a response filed on June 3, 2020, DFA submitted a declaration indicating

that “DFA does not presently intend to close any of the Carolina Plants, or significantly

change their operations.” Declaration of John Wilson, ¶ 20, ECF. No. 25-1.

       4.      On June 10, 2020, the Court ordered expedited discovery. In its Order, the

Court suggested that the Parties discuss a longer discovery period and then advance to a

trial on the merits under Fed. R. Civ. P. Rule 65(a)(2), or a schedule similar to that utilized

by the Eastern District of Virginia in complex matters.

       5.      The Parties have met and conferred and agreed to an expedited schedule,

resulting in a trial on the merits under Rule 65(a)(2), that has been submitted to the Court.

The Parties have agreed to the terms reflected in the Stipulated Order set forth below. The

intent of this Order is to allow the Court to monitor the status quo pending trial to preserve

the Court’s ability to take action, if necessary, to preserve the status quo, and the ability to

order divestiture at trial, if appropriate, while preserving the ability of DFA to continue to

operate the Carolinas Plants in the regular course of business. To that end, the Parties agree

to work together, in good faith, to address any issues that may arise under this Order in a

cooperative and transparent manner.



                                                2

      Case 1:20-cv-00442-CCE-JLW Document 39 Filed 07/02/20 Page 2 of 5
       6.      The Parties have agreed that, from the date of this Stipulated Order until the

date of a Final Order by the Court, DFA shall not take any of the actions set forth below

without providing 30 days’ written notice to the Court and to the Plaintiffs, to permit the

Plaintiffs to object and seek expedited relief, if appropriate, from the Court:

            a. Close, remove, sell, lease, transfer, commingle, pledge, devalue, or otherwise
               dispose of the Carolina Plants and related tangible and intangible assets,
               except for intangible assets pursuant to DFA’s obligations under the
               proposed Final Judgment in United States v. Dairy Farmers of America, Inc.
               (1:20-cv-02658 N.D. Ill.) and those actions involving tangible and intangible
               assets of the Carolina Plants solely taken in good faith in the ordinary course
               of business;

            b. Reduce the working conditions, staffing level or work force for the Carolina
               Plants below levels necessary to maintain the operations of the Carolina
               Plants in working order and for the working conditions reasonably
               appropriate for the market conditions at that time;

            c. Fail to maintain the Carolina Plants in operable condition or otherwise
               implement a plan to begin the process of retiring some or all of the Plants;
               and

            d. Take any material action that would prevent a divestiture remedy or render
               the feasibility or viability of such a remedy impractical from the perspective
               of a divestiture buyer with experience in the dairy industry.

       7.      DFA further agrees that it will not contest the viability or feasibility of a

divestiture remedy at trial due to any changes that occurred between the filing of the

complaint and any consolidated Rule 65(a)(2) trial that were not first raised with the Court

and Plaintiffs pursuant to Paragraph 6 above. Nothing in this Order, however, shall be

construed to prevent DFA from contesting the appropriateness of a divestiture remedy at

trial or asserting that divestiture is infeasible or not viable for other reasons.




                                                3

      Case 1:20-cv-00442-CCE-JLW Document 39 Filed 07/02/20 Page 3 of 5
SO ORDERED this 2nd day of July, 2020.



                                             UNITED STATES DISTRICT JUDGE

Dated: July 2, 2020.

Respectfully submitted,

 HUNTON ANDREWS KURTH LLP                        WOMBLE BOND DICKINSON
                                                 (US) LLP

     /s/ Ryan G. Rich                               /s/ Brent F. Powell
 A. Todd Brown, Sr.                              James P. Cooney III
 N.C. State Bar No. 13806                        N.C. State Bar No. 12140
 Ryan G. Rich                                    Sarah Motley Stone
 N.C. State Bar No. 37015                        N.C. State Bar No. 34117
 101 South Tryon Street, Suite 3500              WOMBLE BOND DICKINSON
 Charlotte, North Carolina 28280                 (US) LLP
 Telephone: (704) 378-4700                       Charlotte, North Carolina 28202
 tbrown@huntonak.com                             Phone: 704-331-4900
 rrich@huntonak.com                              Fax: 704-331-4955
                                                 Jim.Cooney@wbd-us.com
 Ryan P. Phair (admitted pro hac vice)           Sarah.Stone@wbd-us.com
 John S. Martin (admitted pro hac vice)
 Kevin Hahm (admitted pro hac vice)
 Carter C. Simpson (admitted pro hac vice)
 2200 Pennsylvania Avenue, NW                    Brent F. Powell
 Washington, DC 20037                            N.C. State Bar No. 41938
 Telephone: (202) 955-1500                       One West Fourth Street
 rphair@huntonak.com                             Winston-Salem, North Carolina
 martinj@huntonak.com                            27101
 khahm@huntonak.com                              Phone: 336-721-3600
 csimpson@huntonak.com                           Fax: 336-721-3660
                                                 Brent.Powell@wbd-us.com
 Attorneys for Food Lion, LLC

 TROUTMAN SANDERS LLP

     /s/ Jason D. Evans
 Jason D. Evans, N.C. State Bar No. 27808
 301 S. College Street, 34th Floor
                                             4

       Case 1:20-cv-00442-CCE-JLW Document 39 Filed 07/02/20 Page 4 of 5
Charlotte, NC 28202                            BAKER & MILLER PLLC
Telephone: (704) 916-1502
jason.evans@troutman.com                       W. Todd Miller*
                                               Amber McDonald*
James A. Lamberth (admitted pro hac            2401 Pennsylvania Avenue N.W.
vice)                                          Suite 300
600 Peachtree Street, NE, Suite 3000           Washington, D.C. 20037
Atlanta, GA 30308                              Phone: 202-663-7820
(404) 885-3362                                 Fax: 202-663-7849
james.lamberth@troutman.com                    TMiller@bakerandmiller.com
                                               AMcDonald@bakerandmiller.com
Attorneys for Maryland and Virginia Milk
Producers Cooperative Association, Inc.        Attorneys for
                                               Dairy Farmers of America, Inc.

                                               *By Special Appearance




                                           5

     Case 1:20-cv-00442-CCE-JLW Document 39 Filed 07/02/20 Page 5 of 5
